        Case 3:23-cv-03417-VC          Document 320       Filed 12/09/24   Page 1 of 4




BOIES SCHILLER FLEXNER LLP
David Boies (pro hac vice)
333 Main Street
Armonk, NY 10504
(914) 749-8200
dboies@bsfllp.com

Maxwell V. Pritt (SBN 253155)
Joshua M. Stein (SBN 298856)
44 Montgomery Street, 41st Floor
San Francisco, CA 94104
(415) 293-6800
mpritt@bsfllp.com
jstein@bsfllp.com

Jesse Panuccio (pro hac vice)
1401 New York Ave, NW
Washington, DC 20005
(202) 237-2727
jpanuccio@bsfllp.com

Joshua I. Schiller (SBN 330653)
David L. Simons (pro hac vice)
55 Hudson Yards, 20th Floor
New York, NY 10001
(914) 749-8200
jischiller@bsfllp.com
dsimons@bsfllp.com

Counsel for Individual and Representative Plaintiffs
and the Proposed Class. (additional counsel included below)


                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO VISION

RICHARD KADREY, et al.,                             Case No. 3:23-cv-03417-VC

        Individual and Representative Plaintiffs,
                                                    PLAINTIFFS’ ADMINISTRATIVE
   v.                                               MOTION TO CONSIDER WHETHER
                                                    ANOTHER PARTY’S MATERIAL
META PLATFORMS, INC.,                               SHOULD BE SEALED RE:
                                                    SUPPLEMENTAL PRIVILEGE LETTER
                                     Defendant.



           PLAINTIFFS’ ADMIN. MTN. TO CONSIDER SEALING RE: SUPPLEMENTAL PRIVILEGE LETTER
                                                                    CASE NO. 3:23-cv-03417-VC
        Case 3:23-cv-03417-VC          Document 320        Filed 12/09/24      Page 2 of 4




       Pursuant to Civil Local Rules 7-11, 79-5(f), and this Court’s Standing Order on Motions

to Seal, Plaintiffs respectfully submit this Administrative Motion to Consider Whether Another

Party’s Material Should Be Sealed, filed in connection with Plaintiffs’ Supplemental Privilege

Letter. The Letter contains, in various places, summaries or descriptions of material that Defendant

Meta Platforms, Inc. (“Meta”), has designated as “Highly Confidential - Attorneys Eyes Only,” as

defined in the in the parties’ Stipulated Protective Order for Litigation Involving Patents, Highly

Sensitive Confidential Information and/or Trade Secrets (ECF No. 90, the “Protective Order”).

Plaintiffs are also filing the privilege log entries in support of the Letter under seal because they

are designated by Meta as “Attorneys’ Eyes Only.”

       Plaintiffs are provisionally filing these materials under seal out of an abundance of caution

based on Meta’s confidentiality designations. Accordingly, Plaintiffs have filed a public version

of the Letter to the docket via ECF, redacting references to such extracted information or

summaries. Plaintiffs have also filed under seal an unredacted, highlighted version. Plaintiffs

have also filed a “slipsheet” version of Attachment A in support of the Letter via ECF.




   PLAINTIFFS’ ADMIN. MTN. TO CONSIDER SEALING RE: SUPPLEMENTAL PRIVILEGE LETTER
                                                            CASE NO. 3:23-cv-03417-VC
                                                 1
            Case 3:23-cv-03417-VC        Document 320   Filed 12/09/24      Page 3 of 4




                                                    Dated: December 9, 2024


                                                    By: /s/ Maxwell V. Pritt
                                                           Maxwell V. Pritt

LIEFF CABRASER HEIMANN &                            BOIES SCHILLER FLEXNER LLP
BERNSTEIN, LLP                                      David Boies (pro hac vice)
                                                    333 Main Street
Elizabeth J. Cabraser (State Bar No. 083151)        Armonk, NY 10504
Daniel M. Hutchinson (State Bar No. 239458)         (914) 749-8200
Reilly T. Stoler (State Bar No. 310761)             dboies@bsfllp.com
275 Battery Street, 29th Floor
San Francisco, CA 94111-3339                        Maxwell V. Pritt (SBN 253155)
(415) 956-1000                                      Joshua M. Stein (SBN 298856)
ecabraser@lchb.com                                  44 Montgomery Street, 41st Floor
                                                    San Francisco, CA 94104
dhutchinson@lchb.com                                (415) 293-6800
rstoler@lchb.com                                    mpritt@bsfllp.com
                                                    jstein@bsfllp.com
Rachel Geman (pro hac vice)
250 Hudson Street, 8th Floor                        Jesse Panuccio (pro hac vice)
New York, New York 10013-1413                       1401 New York Ave, NW
                                                    Washington, DC 20005
(212) 355-9500                                      (202) 237-2727
rgeman@lchb.com                                     jpanuccio@bsfllp.com
JOSEPH SAVERI LAW FIRM LLP                          Joshua I. Schiller (SBN 330653)
Joseph R. Saveri (SBN 130064)                       David L. Simons (pro hac vice)
Cadio Zirpoli (SBN 179108)                          55 Hudson Yards, 20th Floor
Christopher K.L. Young (SBN 318371)                 New York, NY 10001
                                                    (914) 749-8200
Holden Benon (SBN 325847)                           jischiller@bsfllp.com
Aaron Cera (SBN 351163)                             dsimons@bsfllp.com
Margaux Poueymirou (SBN 356000)
601 California Street, Suite 1505                   Interim Lead Counsel for Individual and
San Francisco, California 94108                     Representative Plaintiffs and the Proposed Class.
(415) 500-6800
jsaveri@saverilawfirm.com
czirpoli@saverilawfirm.com
cyoung@saverilawfirm.com
hbenon@saverilawfirm.com
acera@saverilawfirm.com
mpoueymirou@saverilawfirm.com

CAFFERTY CLOBES MERIWETHER &
SPRENGEL LLP
Bryan L. Clobes (pro hac vice)
135 S. LaSalle Street, Suite 3210
Chicago, IL 60603
(312) 782-4880
bclobes@caffertyclobes.com

        PLAINTIFFS’ ADMIN. MTN. TO CONSIDER SEALING RE: SUPPLEMENTAL PRIVILEGE LETTER
                                                                 CASE NO. 3:23-cv-03417-VC
                                                2
             Case 3:23-cv-03417-VC         Document 320    Filed 12/09/24   Page 4 of 4




DICELLO LEVITT LLP
Amy Keller (pro hac vice)
Nada Djordjevic (pro hac vice)
James Ulwick (pro hac vice)
10 North Dearborn Street, Sixth Floor
Chicago, Illinois 60602
(312) 214-7900
akeller@dicellolevitt.com
ndjordjevic@dicellolevitt.com
julwick@dicellolevitt.com
David Straite (pro hac vice)
485 Lexington Avenue, Suite 1001
New York, New York 10017
(646) 933-1000
dsraite@dicellolevitt.com

Matthew Butterick (SBN 250953)
1920 Hillhurst Avenue, #406
Los Angeles, CA 90027
(323) 968-2632
mb@buttericklaw.com

COWAN DEBAETS ABRAMS & SHEPPARD
LLP
Scott J. Sholder (pro hac vice)
CeCe M. Cole
60 Broad Street, 30th Floor
New York, NY 10004
(212) 974-7474
ssholder@cdas.com
ccole@cdas.com

Counsel for Individual and Representative Plaintiffs
and the Proposed Class.




        PLAINTIFFS’ ADMIN. MTN. TO CONSIDER SEALING RE: SUPPLEMENTAL PRIVILEGE LETTER
                                                                 CASE NO. 3:23-cv-03417-VC
                                                       3
